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                                EXHIBIT H




                                                                                   EXHIBIT H
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                                 EXHIBIT I




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Excerpt from Field Museum of Natural History website
On the history of the Museum:
https://www.fieldmuseum.org/about/history



New home
The museum’s extensive collection continued to grow, but the Palace of Fine Arts building was
not aging gracefully. The search began for a site to rebuild the museum.

After much deliberation on the site and style of the museum’s new home, construction began in
1915 on a new building at a site near Grant Park. The building, designed by architect Peirce
Anderson of Graham, Anderson, Probst and White, cost $7 million to build and was part of
Daniel Burnham’s 1909 Plan of Chicago.

In March 1920, crews began the arduous task of moving the museum’s collection to its new
home. Specimens were loaded into crates and transported by rail and horse-drawn carriage.
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                                 EXHIBIT J




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Grant Park History

From Chicago Public Library Blog

https://www.chipublib.org/blogs/post/history-of-grant-park-1909-14/

https://www.chipublib.org/blogs/post/mapmakers-lie-grant-park-in-1913/

https://www.chipublib.org/blogs/post/history-of-grant-park-1915-1930/

https://www.chipublib.org/blogs/post/history-of-grant-park-1931-to-1970/

https://www.chipublib.org/blogs/post/history-of-grant-park-1971-to-1990/

https://www.chipublib.org/blogs/post/history-of-grant-park-1991-2014/




Map of Grant Park (1911)
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Map (1913) erroneously noting the “Fields Museum” adjacent to what today is Buckingham Fountain.



South of 12th Street, renamed Roosevelt in 1919, enough of the lake had been filled in to
construct the Field Museum(1921), Soldier Field (1924), Shedd Aquarium (1930) and Adler
Planetarium (1930). Due to Montgomery Ward’s legacy these were all built south of the original
boundary of Grant Park (half a block north of Roosevelt). This is shown in the next photo from
the National Map. My annotations are in red.
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                                 EXHIBIT K




                                                                                   EXHIBIT K
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                                 EXHIBIT L




                                                                                    EXHIBIT L
1/31/2019                                             Shedd02/05/19
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  E N C Y C L O P E D I A of C H I C A G O
                                                                                                                                        HISTORICAL
                                                                                                                SEE ALSO                 SOURCES
                                                                                                           Conservatories
   Entries | Historical Sources | Maps | Special Features                                                  Museums in the Park

       SEARCH                                         Full
                                                      List


                                                  E N T R I E S        :   S H E D D        A Q U A R I U M


   S
       E N T R I E S
                                  Shedd Aquarium
    Shedd Aquarium                                                                   Planning for the John G. Shedd Aquarium began
   Next
                                                                                     in 1924, when John Groves Shedd, second
                                                                                     president of Marshall Field & Co., donated $2
                                                                                     million toward construction of a facility that he
                                                                                     hoped would showcase “the greatest variety of sea
                                                                                     life under one roof.” The world's largest indoor
                                                                                     aquarium opened more than five years later, in
                                                                                     December 1929, along Lake Michigan, just south
                                                                                     of Grant Park and east of the Field Museum.
                                                                                     Additional Shedd exhibit halls were completed in
                                             LAKEFRONT MUSEUMS, 1947                 the early years of the Great Depression.

                                  The aquarium's significance was not restricted to size or location. It opened with both
                                  freshwater and salt aquaria, then unheard of for an inland aquarium. The architects
                                  Graham, Anderson, Probst & White designed the aquarium in the Beaux-Arts style (one
                                  championed by Graham's mentor Daniel Burnham), with elements of classical Greek
                                  architecture to make it a better structural match with the neighboring Field Museum.
                                  Under Walter H. Chute (who served as its second director from 1928 to 1964), the
                                  aquarium pioneered the use of a railroad car to transport fishes and invertebrates
                                  collected for exhibition and study. The rotunda pool, with its lush plant growth, fish,
                                  and reptiles, remained an attraction for 40 years, until it was replaced by a huge
                                  cylindrical coral reef community tank. The R/V Coral Reef served as a collecting boat
                                  from 1971 to 1985, when it was replaced by a specially designed vessel, the Coral Reef II.

                                  William P. Braker followed Chute as aquarium director, with a vision of an enlarged and
                                  more complete aquatic experience. Under Braker's leadership, a membership initiative
                                  in the 1970s began encouraging both tourists and city residents to participate in
                                  aquarium activities. A volunteer program, implemented in 1975, provided aid to visitors
                                  and complemented the Helen Shedd Keith Aquatic Science Center. Invertebrates
                                  (including sea anemones) were added to the galleries in 1980; river otters in 1986.

                                  The idea for a marine mammal exhibit, set aside in 1967 and considered anew in 1980,
                                  finally received state support in 1986. In April of 1991 the Oceanarium and its marine
                                  mammal pavilion opened to the public. Sea otters, dolphins, belugas, penguins, and
                                  harbor seals played in state-of-the-art exhibits replicating natural conditions. Public
                                  response to the Oceanarium exceeded expectations, and programming grew. The
                                  McCormick Tribune Reference Library was built to serve as a specialized regional
                                  resource on aquatic sciences.

                                  In 1994, Ted Beattie became the aquarium's fourth director. The additions under his
                                  watch include the Amazon Rising exhibit in 2000. The aquarium also became one of the
                                  principal components of the city's vast Museum Campus, built to integrate three
                                  important lakefront institutions—the Field Museum, the Adler Planetarium, and Shedd
                                  Aquarium—by removing a section of Lake Shore Drive that had long isolated the
                                  buildings from one another. In 2001, annual aquarium attendance grew to nearly 2
                                  million.
                                  Dennis A. Meritt, Jr.

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http://www.encyclopedia.chicagohistory.org/pages/1139.html                                                                                              1/1
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                                EXHIBIT M




                                                                                    EXHIBIT M
1/31/2019                                             DuSable
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                                                          02/05/19

  E N C Y C L O P E D I A of C H I C A G O                                                                       SEE ALSO                HISTORICAL
                                                                                                                                          SOURCES
                                                                                                           Chicago Historical Society
   Entries | Historical Sources | Maps | Special Features                                                  Mexican Fine Arts Center Museum
                                                                                                           Museums in the Park
       SEARCH                                                                               Full           Nommo
                                                                                            List


                                                  E N T R I E S        :   D U S A B L E           M U S E U M


   D
       E N T R I E S
                                  DuSable Museum
    DuSable Museum                The DuSable Museum of African American History is devoted to the history, art, and
   Next
                                  culture of the African diaspora. A pioneer among a group of black cultural museums
                                  that emerged during the civil rights movement of the mid-twentieth century, it began as
                                  the Ebony Museum, and then the Museum of Negro History and Art. The museum's
                                  first site was in the home of its founders, artist/educator Margaret Goss Burroughs and
                                  her husband Charles Burroughs, whose historic South Side mansion had once been a
                                  boardinghouse for African American railroad workers. During the early 1960s the
                                  fledgling museum and the South Side Community Art Center across Michigan Avenue
                                  created a small black cultural corridor.

                                  Upon moving to its current home, a former Chicago Park District facility in Washington
                                  Park, in 1973, the museum was renamed in honor of Chicago's first permanent
                                  nonnative settler, Jean Baptiste Point DuSable, an Afro-French trader. An interracial
                                  group of educators and activists that included Eugene Pieter Feldman, Gerard Lew,
                                  Marian Hadly, Ralph Turner, James O'Kennard, and Wilbur Jones played a central role
                                  in the museum's early development. The DuSable quickly became a resource for
                                  teaching African American history and culture and a focal point in Chicago for black
                                  social activism, particularly because of limited cultural resources then available to
                                  Chicago's large black population. Through the years, the museum has served as nerve
                                  center for political fundraisers, community festivals, and social and civic events serving
                                  the black community. The museum and its founder, Margaret Burroughs, rose to
                                  national prominence, and its model has been replicated in other cities around the
                                  country, including Boston, Los Angeles, and Philadelphia.

                                  DuSable's holdings have developed largely from private gifts. These include slave-era
                                  relics, nineteenth- and twentieth-century artifacts, archival materials such as the diaries
                                  of sea explorer Captain Harry Dean, and letters, photographs, and memorabilia of
                                  scholar W. E. B. Du Bois, sociologist St. Clair Drake, and poet Langston Hughes. The
                                  significant African American art collection includes work by Charles White, Archibald
                                  Motley, Jr., Charles Sebree, and Marion Perkins (all of whom studied at the South Side
                                  Community Art Center), and numerous works from the WPA period and the 1960s
                                  Black Arts Movement. In addition to traditional African art and numerous prints and
                                  drawings, the museum owns works by noted artists Henry O. Tanner, Richmond
                                  Barthé, and Romare Bearden. It also has an extensive collection of books and records
                                  on African and African American history and culture.

                                  The museum, which receives partial support through the publicly funded Park District
                                  tax levy, added the Harold Washington Wing, with additional galleries and a theater, in
                                  1993. It has continued to mount exhibitions, host lectures, festivals, performing arts,
                                  and film programs, and provide educational services for students and teachers.
                                  Amina J. Dickerson



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                                  Williams, Carline Evone Strong. “Margaret Taylor Goss Burroughs: Educator, Artist, Author, Founder, and Civic Leader.”
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http://www.encyclopedia.chicagohistory.org/pages/398.html                                                                                                  1/1
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                                 EXHIBIT N




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The DuSable Museum of
African-American History
was housed in the
Griffiths-Burroughs House
from its founding in 1961
until 1973, when it moved
to the former South Parks
Commission headquarters
in Washington Park.

Top: A photograph of the
house while used for the
DuSable Museum.

Bottom: School children
visiting the DuSable
Museum.




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